  Case 1:11-cv-01226-RHB ECF No. 51, PageID.802 Filed 01/16/12 Page 1 of 3




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

NATIONAL VIATICAL, INC. and               )
JAMES TORCHIA,                            )
                                          )
             Plaintiffs,                  )
                                          )    CIVIL ACTION
      v.                                  )
                                          )    CASE NO. 1:11-CV-01226-RHB
UNIVERSAL SETTLEMENTS                     )
INTERNATIONAL, INC.,                      )
                                          )
             Defendant.                   )

PLAINTIFFS NVI AND JAMES TORCHIA’S MOTION TO STRIKE COUNT III
                    OF USI’S COUNTERCLAIM

      National Viatical, Inc. and James Torchia move this Court to strike Count III of

USI’s Counterclaim that consists entirely of scandalous allegations pursuant to its power

under FED. R. CIV. P. 12(f). Universal Settlements International, Inc. baldly accused

NVI and Torchia and their counsel of intentionally misrepresenting their intentions to

fully and completely settle USI’s lawsuit but did not allege any facts whatsoever in

support of these scandalous allegations. Rather, USI based its allegations on nothing

more than its own “information and belief.” USI’s ad hominem attacks against NVI and

Torchia and their counsel are abusive, offensive, and wholly baseless and

unsubstantiated.

      Moreover, USI made the implicit suggestion in Count III that this Court presided

over a sham proceeding when it oversaw the October 26, 2010 settlement conference.
  Case 1:11-cv-01226-RHB ECF No. 51, PageID.803 Filed 01/16/12 Page 2 of 3




Courts have the power under FED. R. CIV. P. 12(f) to prevent damage to the reputation of

litigants, attorneys and the decorum of court proceedings. USI has failed to plead a

factual basis for fraudulent inducement because there is none. Accordingly, NVI and

Torchia request that this Court strike USI’s scandalous allegations under FED. R. CIV. P.

12(f).



         This the 16th day of January, 2012.

                                                   /s/ Jason W. Graham
                                                   Jason W. Graham
                                                   Georgia Bar No. 304595
                                                   Attorney for Plaintiffs

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                                               2
  Case 1:11-cv-01226-RHB ECF No. 51, PageID.804 Filed 01/16/12 Page 3 of 3




                           CERTIFICATE OF SERVICE

      This is to certify that I have this day served counsel for the other parties in the

foregoing matter with a copy of the foregoing Motion to Strike Count III of USI’s

Counterclaim via the Court’s CM/ECF notification system.


      This the 16th day of January, 2012.

                                               /s/ Jason W. Graham
                                               Jason W. Graham
                                               Georgia Bar No. 304595
                                               Attorneys for Plaintiffs

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